        Case 1:16-cr-00281-PGG Document 927 Filed 01/08/21 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,


            -against-                                            ORDER

                                                           16 Cr. 281 (PGG-6)
DAVID CHERRY,

                        Defendant.


PAUL G. GARDEPHE, U.S.D.J.:

              The sentencing of Defendant David Cherry, previously scheduled for February 9,

2021, will now take place on April 20, 2021 at 12:00 p.m. in Courtroom 705 of the Thurgood

Marshall United States Courthouse, 40 Foley Square, New York, New York.

Dated: New York, New York
       January 8, 2021
